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                   18

                   19                                  UNITED STATES DISTRICT COURT

                   20                             NORTHERN DISTRICT OF CALIFORNIA

                   21                                     SAN FRANCISCO DIVISION

                   22   CITY AND COUNTY OF SAN FRANCISCO,                    Case No. 3:24-CV-02311-TSH

                   23                     Plaintiff,                         DECLARATION OF MELISSA TYTKO
                                                                             ANDRETTA IN SUPPORT OF THE CITY’S
                   24          v.                                            MOTION FOR PRELIMINARY INJUNCTION

                   25   CITY OF OAKLAND AND PORT OF                          Date:    October 24, 2024
                        OAKLAND,                                             Time:    10:00 AM
                   26                                                        Dept:    E – 15TH Floor
                                          Defendants.                        Judge:   Hon. Thomas S. Hixton
                   27

                   28   AND RELATED COUNTERCLAIM
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                                                                                            M. ANDRETTA DECLARATION
                                                                                           CASE NO.: 3:24-CV-02311-TSH
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                    1          I, Melissa Tytko Andretta, declare as follows:

                    2          1.        I am the Director of Aviation Marketing & Development at San Francisco

                    3   International Airport (“SFO”). I have been employed by SFO since July 2015. I have personal

                    4   knowledge of the facts contained in this declaration in support of the city and county of San

                    5   Francisco’s Motion for Preliminary Injunction. I declare that the following is true to the best of my

                    6   knowledge, information, and belief, and that if called upon to testify, I could and would testify to

                    7   the following.

                    8          2.        As Director of Aviation Marketing & Development for SFO, I am responsible for

                    9   overseeing air service development and international marketing at the airport. In particular, my job

                   10   is focused on our efforts to compete with other airports for air service.

                   11                                 SFO and its Award Winning Facilities

                   12          3.        From my role in marketing SFO and my years of working at the airport, I am

                   13   knowledgeable about some of the history of SFO. In May 1927, the city of San Francisco

                   14   inaugurated the Mills Field Municipal Airport of San Francisco, which formally rebranded as the

                   15   SAN FRANCISCO AIRPORT in 1931, and again as SAN FRANCISCO INTERNATIONAL

                   16   AIRPORT in 1954.

                   17          4.        SFO has always been a major west coast hub airport serving travelers to and from

                   18   the Bay Area, and over time it has grown to become one of the busiest airports in the United States.

                   19   Every year, SFO welcomes tens of millions of travelers from around the world. This includes over

                   20   50 million travelers in 2023. By passenger count, SFO is among the top 12 busiest airports in the

                   21   United States. Attached hereto as Exhibit A is a true and correct copy of is a true and correct copy

                   22   of excerpts of relevant data collected by the New York and New Jersey Port Authority, reflecting

                   23   passenger counts for SFO. Exhibit A was collected at my and/or the City’s direction and I am

                   24   personally familiar with its contents.

                   25          5.        Based on data collected by Airports Council International, SFO receives more than

                   26   twice the number of travelers serviced by the neighboring airports in Oakland and San Jose

                   27   combined. Attached hereto as Exhibit B is a true and correct copy of excerpts of relevant data

                   28   collected by Airports Council International 2023 Airport Traffic Summary, reflecting passenger
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                    1   counts for the Oakland and San Jose airports. Exhibit B was collected at my and/or the City’s

                    2   direction and I am personally familiar with its contents.

                    3                           The OAKLAND INTERNATIONAL AIRPORT

                    4          6.      The Oakland International Airport (or “Oakland airport”) is situated in the

                    5   southeastern part of the city of Oakland in the East Bay.

                    6          7.      Relatively speaking, the Oakland airport is much smaller than SFO, with more

                    7   limited infrastructure to support airlines. For example, according to from Cirium, an aviation

                    8   analytics service, the Oakland airport has far fewer flights than SFO. In August 2023, which is

                    9   typically the busiest month of the year, the Oakland airport averaged 140 flights per day, whereas

                   10   SFO averaged 518 flights. A true and correct excerpt of data that I collected from Cirum is attached

                   11   hereto as Exhibit C. As a result, the Oakland airport services far fewer passengers than SFO,

                   12   around 11.2 million in 2023. See Exhibit B.

                   13          8.      In comparison to SFO, the Oakland airport scores lower in customer service. In a

                   14   recent North America Airport Satisfaction Study conducted by J.D. Power, SFO ranked near the

                   15   top of all “mega” airports in overall customer satisfaction, whereas the Oakland airport ranked near

                   16   the bottom of its category of “large” airports. Attached hereto as Exhibit D is a true and correct

                   17   copy of relevant excerpts from the North America Airport Satisfactions Survey. Exhibit D was

                   18   collected at my and/or the City’s direction and I am personally familiar with its contents.

                   19          9.      The cost of airfare to and from the Oakland airport varies significantly from flight

                   20   to flight, with round trip tickets as low as $52 as of September 16, 2024 according to airfare listings

                   21   for the airline Spirit. Attached hereto as Exhibit E is a true and correct screenshot of an

                   22   advertisement for $26 plane tickets (one way) on Spirit leaving from the Oakland airport. Exhibit

                   23   E was collected at my and/or the City’s direction and I am personally familiar with its contents.

                   24          10.     According to data compiled by the Bureau of Transportation Statistics (“BTS”),

                   25   airfare at the Oakland airport is, on average, cheaper than airfare to SFO, and ranks in the bottom

                   26   half of all major metropolitan airports. A true and correct screenshot from the BTS website is

                   27   attached hereto as Exhibit F. Exhibit F was collected at my and/or the City’s direction and I am

                   28   personally familiar with its contents.
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                    1          11.      However, the Oakland airport, like SFO, provides airport services to U.S. and

                    2   international travelers traveling to and from the Bay Area.

                    3          12.      Also, like SFO, plane tickets to and from the Oakland airport are marketed and sold

                    4   via the same mediums, namely, wherever airline tickets are sold. Today the vast majority of airline

                    5   tickets are sold online. This process typically begins by entering an airport name or location into a

                    6   search tab on an airline or online travel agency (“OTA”) website, which automatically returns a list

                    7   of corresponding airports. On most sites, searches for San Francisco or SFO offer the Oakland

                    8   airport as a “nearby” airport, and vice versa. Flights to each can often be searched together, and

                    9   travelers may consider our airports as alternatives to one another for traveling to Bay Area

                   10   destinations.

                   11          13.      SFO and the Oakland airport also share several of the same airlines. These include

                   12   Alaska Airlines, Delta, Hawaiian Airlines, and Southwest.

                   13                The Port and Marketing of OAKLAND INTERNATIONAL AIRPORT

                   14          14.      My experience with the Port of Oakland (the “Port” or “Oakland”) and its tactics

                   15   marketing the Oakland airport has given me a window into their view of the City and County of

                   16   San Francisco (the “City”) and SFO. For many years, they have acted as if we are in a rivalry with

                   17   one another, and we also understand that Oakland airport staff express concern that SFO is trying

                   18   to undermine them.

                   19          15.      I understand that the Oakland airport, like other airports, has struggled to fully

                   20   recover during and after the pandemic. In recent years Oakland airport has suffered widely reported

                   21   losses of the airlines British Airways, Norwegian Air, and JetBlue.

                   22          16.      Oakland appears to blame SFO and the City for its problems, mistakenly believing

                   23   that we have taken air service away from them, based on our conversations with air carriers, other

                   24   industry partners and former employees of Oakland. This isn’t true and isn’t how SFO does

                   25   business. SFO uses research and data to market itself to incumbent and new air carriers for new air

                   26   service which has the best opportunity to succeed at SFO, without regard to what Oakland airport

                   27   is doing. While SFO and the Oakland and San Jose airports all compete with one another, our view

                   28   is that we can all thrive together too and ought to be working together to try to increase travel to
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                    1   the region.

                    2          17.     Against this backdrop, Oakland has often taken to marketing its airport to airlines

                    3   by denigrating SFO, for example by misrepresenting the extent to which SFO suffers from fog and

                    4   delays. In one incident, the Port hosted an event for airlines that featured fortune cookies containing

                    5   the fortune “SFO? Just say no.” They also created a pre-pandemic video ad campaign titled

                    6   “Inferiority Complex,” which features “stereotypical” San Franciscans touting the superiority of

                    7   the     Oakland      airport.          That      video     can      currently     be      found      at

                    8   https://www.adsoftheworld.com/campaigns/inferiority-complex.

                    9                 The Port and Renaming OAKLAND INTERNATIONAL AIRPORT

                   10          18.     I became aware of Oakland’s plan to rebrand its airport under the trademark SAN

                   11   FRANCISCO BAY OAKLAND INTERNATIONAL AIRPORT following its press release on

                   12   March 29, 2024. A true and correct copy of the press release is attached hereto as Exhibit G.

                   13   Exhibit G was collected at my and/or the City’s direction and I am personally familiar with its

                   14   contents.

                   15          19.     From the outset, I was very concerned about the damage that Oakland’s renaming

                   16   will do to SFO’s brand, and the confusion that will be caused by the Oakland airport’s new name.

                   17   Travelers to both SFO and the Oakland airport hail from all walks of life and have varying levels

                   18   of travel experience and English proficiency, and it will be very easy for even seasoned travelers

                   19   to get the parties’ airports mixed up. Based on my experience in the air travel industry, while many

                   20   trips are planned carefully and in advance, this is often not the case. Many travelers have to arrange

                   21   flights last minute for one reason or another, whether due to business needs, an emergency, or

                   22   something else.

                   23          20.     Based on my review, Oakland has begun displaying the SAN FRANCISCO BAY

                   24   OAKLAND INTERNATIONAL AIRPORT trademark on the Oakland airport’s website, social

                   25   media handles, and search engine results. True and correct screenshots reflecting uses of the SAN

                   26   FRANCISCO BAY OAKLAND INTERNATIONAL AIRPORT trademark on the Oakland airport

                   27   website and social media profiles are attached hereto as Exhibit H. Exhibit H was collected at my

                   28   and/or the City’s direction and I am personally familiar with its contents.
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                    1          21.     The SAN FRANCISCO BAY OAKLAND INTERNATIONAL AIRPORT

                    2   trademark also appears in the search feature for Booking.com, Google Flights, and some airline

                    3   websites’ ticketing features have begun to display the “Oakland” airport as “Oakland/San

                    4   Francisco” or “Oakland / San Francisco Bay.” True and correct screenshots of third-party websites

                    5   reflecting uses of the SAN FRANCISCO BAY OAKLAND INTERNATIONAL AIRPORT

                    6   trademark are attached here Exhibit I. Exhibit I was collected at my and/or the City’s direction

                    7   and I am personally familiar with its contents.

                    8          22.     However, Oakland’s rollout of its new name has stalled, and the SAN FRANCISCO

                    9   BAY OAKLAND INTERNATIONAL AIRPORT trademark does not yet appear everywhere. For

                   10   example, the OTAs are inconsistent with their use of the SAN FRANCISCO BAY OAKLAND

                   11   INTERNATIONAL mark or simply refer to the Oakland airport as “Oakland”. True and correct

                   12   screenshots of representative examples of such OTAs are attached hereto as Exhibit J. Exhibit J

                   13   was collected at my and/or the City’s direction and I am personally familiar with its contents.

                   14          23.     Oakland’s slow rollout of the new name coincided with the City’s lawsuit.

                   15   Accordingly, we had been hopeful that Oakland was preparing to work with the City to reach an

                   16   amicable compromise, in particular at the parties’ August 27, 2024 mediation. However, the

                   17   mediation was not successful.

                   18                          The Significance of City Names in Airport Names

                   19          24.     Based on my experience in the air travel industry, it is extremely rare for a major

                   20   U.S. airport to bear the name of a different city than the one that owns it. For example, Chicago

                   21   Midway and Chicago O’Hare are both owned by the city of Chicago. Similarly, Dallas Love and

                   22   Dallas / Fort Worth are both owned (or in the case of Dallas / Fort Worth, partially owned) by

                   23   Dallas. Likewise, Washington Dulles and Washington Reagan International Airport are owned by

                   24   the federal government, and so on.

                   25                                Oakland’s New Name is Harming SFO

                   26          25.     Our name is one of the most valuable assets we have. It embodies all of the trust

                   27   and positive associations that we have, through great effort and expense, built up in SFO among

                   28   travelers. By adopting the trademark SAN FRANCISCO BAY OAKLAND INTERNATIONAL
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